Case 2:05-CV-02456-dkv Document 8 Filed 08/16/05 Page 1 of 2 Page|D 3

F|LED B"f' m D.C.
IN THE UNITED STATES DISTRICT COURT
FOR THE wESTERN DISTRICT oF TENNESSEE USAUG|5 AH|U:Ug
wESTERN DIvISIoN

 

MMM
Plaintiff,
v. No. 05-2456 Ml/v
ECONOMY BOA'I` STORE,

Defendant.

v~.._.¢-._IV-_¢-._rv-.’-._z-._¢

 

ORDER GRANTING MO'I‘ION FOR PERMISSION 'I'O PARTICIPATE

 

It is ORDERED that the August 12, 2005, Motion for Permission
to Participate in This Case by Attorney Howard M. Cohen on behalf
the Plaintiff, Chase Tolliver is hereby GRANTED.

/'
ENTERED this [¢>day of August, 2005.

M Q /W@M

JON PHIPPS MCCALLA
UN TED STA’I'ES DISTRICT JUDGE

 

Thls document entered on the docket?eet |n cempliance
with Hu|e 55 and/or 79(3) FFlCP on "

 

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